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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAll

 ATOOI ALOHA, LLC, an Nevada           ) Case No. 16-00347 JMS RLP
 Limited Liability Company; CRAIG B.   )
 STANLEY, as Trustee for THE           )
 EDMON KELLER AND CLEAVETTE            ) AMENDED SUMMONS
 MAE STANLEY FAMILY TRUST;             )
 CRAIG B. STANLEY, individually;       )
 MILLICENT ANDRADE, individually,      )
                                       )
                   Plaintiffs,         )
                                       )
            vs.                        )
                                       )
ABNER GUARINO; AURORA )
GAURINO; ABIGAIL GUARINO; )
INVESTORS              FUNDING)
CORPORATION, as Trustee for an )
unrecorded Loan Participation )
Agreement dated June 30, 2014; APT- )
320, LLC, a Hawaii limited liability )
company; CRISTETA C. OWAN, an )
individual; ROMMEL GUZMAN; )
FIDELITY NATIONAL TITLE & )
ESCROW OF HAWAii and DOES 1- ) Caption continued on next page)
100 Inclusive,                       )
                  Defendants.        )
                                     )
                                     )
APT-320, LLC, a Hawaii Limited )
Liability Company                    )
                                     )
            Third Party Plaintiff    )
                                     )
                                     )
                                     )
APARTMENT OWNERS                  OF)
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 DIAMOND HEAD SANDS,             )
         Third Party Defendant.  )
                                 )
ABIGAIL LEE GAURINO; CRAIG B. )
STANLEY, as Trustee for THE )
EDMON KELLER AND CLEAVETTE )
MAE STANLEY FAMILY TRUST; )
CRAIG B. STANLEY, individually, )
ATOOI ALOHA, LLC, an Nevada )
Limited Liability Company; )
MILLICENT ANDRADE, individually )
                                 )
         Third Party             )
         Cross-Claim Defendants. )
~~~~~~~~)


                            AMENDED SUMMONS

To Plaintiffs and Third       ATOOI ALOHA, LLC, an Nevada Limited Liability
Party Cross-Claim Defendants: Company; CRAIG B. STANLEY, as Trustee for
                              THE EDMON KELLER AND CLEAVETTE MAE
                              STANLEY FAMILY TRUST and CRAIG B.
                              STANLEY, individually; MILLICENT ANDRADE,
                              individually

To Defendant and Third
Party Cross-claim Defendant:   ABIGAIL LEE GAURINO

      You are hereby summoned and required to file with the Court and serve upon
Anderson Lahne & Fujisaki LLP A Limited Liability Law Partnership, attorneys for
Third Party Defendant ASSOCIATION OF APARTMENT OWNERS OF
DIAMOND HEAD SANDS, whose address is 733 Bishop Street, Suite 2301, Pacific
Guardian Center, Makai Tower, Honolulu, Hawaii 96813, an answer to the Third
Party Amended Cross-Claim or Third Party Cross-claim which is served upon you,
within twenty-one (21) days after service of this Amended summons upon you,
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exclusive of the day of service. If you fail to do so, judgment by default will be taken
against you for the relief demanded in the Third Party Amended Cross-Claim or Third
Party Cross-Claim.
      This Amended summons shall not be personally delivered between 10:00 p.m.
and 6:00 a.m. on premises not open to the general public, unless a judge of the above-
entitled court permits, in writing on this Amended summons, personal delivery during
those hours.
      A failure to obey this Amended summons may result in an entry of default and
default judgment against the disobeying person or party.


               DATED: Honolulu, Hawaii February 5, 2018.



                                        SUE BEITIA
                                        Clerk of the above-entitled Court


                                        Isl SUE BEITIA by AFC, Deputy Clerk
